         Case 6:20-cv-00251-ADA Document 151-2 Filed 07/18/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


DROPBOX, INC.,

       Plaintiff/Counter-Defendant,                    CIVIL ACTION NO. 6:20-cv-00251-ADA
v.


MOTION OFFENSE, LLC,

       Defendant/Counter-Plaintiff.

MOTION OFFENSE, LLC
                                                       CIVIL ACTION NO. 6:21-cv-00758-ADA
       Plaintiff,

v.


DROPBOX, INC.,

       Defendant.


        [PROPOSED] ORDER ON AMENDED FINAL CONTENTIONS DISPUTES

        The parties dispute the propriety of Motion Offense’s amendments to its Final Infringement

 Contentions and Dropbox’s amendments to its Final Invalidity Contentions. The parties also

 dispute whether Dropbox may rely on allegedly highly confidential materials, including its non-

 public source code and internal technical documentation, as prior art in its invalidity contentions.

                                              ORDER

 Having considered the parties’ submissions to the Court on the above issues, IT IS HEREBY

 ORDERED that

 I.     By July 13, 2022, Dropbox shall file any motion to strike portions of Motion Offense’s

        Amended Final Infringement Contentions it believes are prejudicial, and Motion Offense

                                                  1
         Case 6:20-cv-00251-ADA Document 151-2 Filed 07/18/22 Page 2 of 2




         shall file any motion to strike portions of Dropbox’s Amended Final Invalidity Contentions

         it believes are prejudicial.

II.      By July 20, 2022, Motion Offense shall file a response to any Dropbox Motion to Strike,

         and Dropbox shall file a response to any Motion Offense Motion to Strike;

III.     The parties’ dispute regarding use of highly confidential materials in Dropbox’s invalidity

         contentions is more properly the subject of briefing at the summary judgment stage;

IV.      The Scheduling Order in the consolidated cases (Dkt. No. 139) is hereby revised as follows

         to allow the parties time to brief their respective motions to strike.




                        Event                     Current Deadline            New Deadline
       Opening Expert Reports                    July 12, 2022           August 5, 2022
       Rebuttal Expert Reports                   August 16, 2022         September 9, 2022
       Close of Expert Discovery                 September 2, 2022       September 23, 2022
       Motion Offense narrows to 15 claims
                                                 September 9, 2022       September 30, 2022
       Dropbox narrows to 20 combinations
       and 15 prior art references. Prior art
       relied upon by an expert only as
       evidence of the knowledge of a person
       of ordinary skill in the art does not
       count as a prior art reference. Multiple
       pieces of prior art evidence (for
       example, documents, source code,
                                                September 23, 2022       October 10, 2022
       webpages, videos or any other forms
       of evidence) used as evidence relating
       to one prior art system counts as a
       single prior art reference. Motion
       Offense is not precluded from
       challenging the prior art status of any
       such evidence and/or seeking to
       exclude its use.
       Dispositive motion deadline/Daubert
                                                September 30, 2022       October 17, 2022
       deadline



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